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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                Filed Electronically, June 18, 2018


IDEKER FARMS, INC., et al.,                           )
                                                      )
                 Plaintiffs,                          ) Case No.: 1:14-cv-00183-NBF
         v.                                           )
                                                      ) Senior Judge Nancy B. Firestone
UNITED STATES OF AMERICA,                             )
                                                      )
                 Defendant.                           )


     PLAINTIFFS’ MOTION FOR LEAVE TO FILE A COMBINED REPLY TO THE
      “UNITED STATES’ RESPONSE TO PLAINTIFFS’ BRIEF REGARDING THE
         IMPACT OF ST. BERNARD PARISH ON PLAINTIFFS’ MOTION FOR
           RECONSIDERATION” AND SURREPLY TO UNITED STATES’
          REPLY IN SUPPORT OF ITS MOTION FOR RECONSIDERATION

         Plaintiffs, by and through their counsel of record, respectfully move this Honorable Court

to grant them leave, for good cause shown, to file a combined reply to the “United States’

Response to Plaintiffs’ Brief Regarding the Impact of St. Bernard Parish on Plaintiffs’ Motion

for Reconsideration,” ECF No. 441, and surreply to the “United States’ Reply in Suppport of Its

Motion for Reconsideration,” ECF No. 442. In support of their Motion, Plaintiffs state:

         1.      Pursuant to the Court’s Order of April 24, 2018, ECF No. 433, the Parties timely

filed, on May 14, 2018, the following briefs, both of which included, as ordered, briefing

concerning the impact of the St. Bernard Parish (“SBP”) decision on Plaintiffs’ Motion for

Reconsideration:

         a.      Plaintiffs’ “Reply to United States’ Response to Plaintiffs’ Motion for

                 Reconsideration,” ECF No. 434; and

         b.      Defendant’s “Response to Court’s Order Directing Briefing on Effects of

                 St. Bernard Parish Decision,” ECF No. 435.



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       2.      On May 14, 2018, Defendant also filed a “Motion for Reconsideration,” ECF No.

436, contending that pursuant to SBP, all of Plaintiffs’ claims should be dismissed, making the

exact same contention that it made in its Response to Plaintiffs’ Motion for Reconsideration,

ECF N. 430 – that the Court, in its Trial Opinion, ECF No. 426, had not applied the proper

standard for assessing causation, the SBP standard.

       3.      In light of the filing of Defendant’s Motion for Reconsideration based solely on

SBP, the Court, in an order of May 16, 2018, ECF No. 439, ordered additional SBP briefing.

Specifically, it ordered the following additional SBP briefing by the Parties, due May 31, 2018:

       a.      the “parties shall file response briefs addressing the opposing party’s

               arguments concerning the impact of the St. Bernard Parish decision on the

               plaintiffs’ motion for reconsideration[;]” and

       b.      “Plaintiffs shall file a response to the government’s motion for

               reconsideration (EDF No. 436).”

The Court’s order granted Plaintiffs leave to “file a combined brief addressing defendant’s

argument of the impact of the St. Bernard Parish decision on their motion for reconsideration

and responding to defendant’s motion for reconsideration.” Id. at 1 n.1.          The order also

provided that the Government had until June 15, 2018, to “file its reply in support of its motion

for reconsideration.” Id. at 2.

       4.      As ordered, the Parties timely filed, on May 31, 2018, the following briefs:

       a.      “Plaintiffs’ Combined Response to ‘United States’ Response to Court’s

               Order Directing Briefing on Effects of St. Bernard Parish Decision,’ and

               ‘United States’ Motion for Reconsideration,’” ECF No. 440; and




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       b.      “United States’ Response to Plaintiffs’ Brief Regarding the Impact of St.

               Bernard Parish on Plaintiffs’ Motion for Reconsideration,” ECF No. 441.

As of the date of these filings, the Parties had each twice briefed the impact of the SBP decision

on the proof of Plaintiffs’ claims as to the element of causation, both in the context of Plaintiffs’

Motion for Reconsideration and Defendant’s Motion for Reconsideration. Specifically, all such

briefing addressed the same overarching issue of whether this Court, under SBP, had applied the

correct standard of assessing causation in entering its Trial Opinion.

       5.      On June 15, 2018, Defendant timely filed its reply in support of its motion for

reconsideration, ECF No. 442, addressing for the third time the same issue of the application of

the SBP standard for assessing causation that each of the Parties had previously briefed twice.

Hence, with this latest Government filing, even though the SBP causation issue in question goes

directly to whether Plaintiffs’ claims will be dismissed in toto for failure to prove causation, on

which issue they, not Defendant, have the ultimate burden of proof, Plaintiffs have only been

afforded the opportunity to file two briefs addressing that issue, while Defendant has not only

been afforded the opportunity to file three briefs addressing that issue, but the opportunity to

have the last word on whether Plaintiffs have satisfied their burden of proof as to causation.

       6.      While Defendant has had the opportunity to respond or reply to each of Plaintiffs’

two briefs on the outcome determinative SBP causation issue, Plaintiffs have not had the

opportunity to respond to the last two of Defendant’s briefs on that issue, Defendant’s: (1)

“Response to Plaintiffs’ Brief Regarding the Impact of St. Bernard Parish on Plaintiffs’ Motion

for Reconsideration,” ECF No. 441; and (2) [“Reply In Support of Its Motion for

Reconsideration,” ECF No. 442. Indeed, the only SBP brief to which Plaintiffs have had an

opportunity to respond is Defendant’s very short “bare bones’ opening SBP brief. Importantly,



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Plaintiffs have not been afforded the opportunity to respond to the new arguments raised by

Defendant in its latest two SBP briefs. In those briefs, Defendant argues for the first time, the

issue of the application of the SBP standard for assessing causation in opposition to Plaintiffs’

Motion for Reconsideration and in support of its Motion for Reconsideration that: (1) the Federal

Circuit’s discussion in SBP of the John B. Hardwicke case was mere dicta which cannot be

read, as Plaintiffs contend, to conclude that the SBP causation standard does not extend to an

Ideker factual situation; (2) contrary to Plaintiffs contention, consideration of Plaintiffs’

reasonable investment backed expectations are irrelevant to the SBP standard of assessing

causation, even though it is based upon a net benefits analysis; and (3) Plaintiffs’ theory of

causation impermissibly depends, in part, on government inaction. Thus, the true “back and

forth” on these government arguments in support of the material and critical outcome

determinative issue of causation, on which Plaintiffs have the ultimate burden of proof, that is

envisioned by balanced and fair briefing would lie in granting Plaintiffs’ motion. See Flanagan

v. Wyndham Int’l, Inc., 231 F.R.D. 98, 101 (D.D.C. 2005) (a surreply may be filed by leave of

court “to address new matters raised in a reply, to which a party would otherwise be unable to

respond.”) (citation omitted). Hence, if the leave requested herein is not granted, Plaintiffs will

never have the opportunity to respond to the new arguments raised by Defendant on the issue of

the application of the SBP standard for assessing causation, which Defendant would have this

Court understand to be dispositive of all of Plaintiffs’ claims.

       7.      While the Court permitted Plaintiffs 40 pages for their combined response to

Defendant’s opening SBP brief and Motion for Reconsideration, they only used 23 pages. This

resulted from the fact, that as ordered by the Court, Plaintiffs were only responding to the bare

bones SBP arguments that Defendant had raised to that point. Plaintiffs respectfully submit that



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20 pages of additional briefing would be sufficient to respond to the arguments raised by

Defendant in its last two SBP briefs.

       8.      Unless Plaintiffs’ motion is granted, Defendant will not only have been afforded

the opportunity to file three briefs to Plaintiffs’ two briefs as to the same causation issue on

which Plaintiffs have the ultimate burden of proof, but Defendant will have had the last word on

that issue. Under such circumstances, Plaintiffs submit that justice and fairness dictate that

Plaintiffs be allowed equal briefing on this critical issue, which this Court has the discretion to

grant. Id.

       9.      Counsel for Defendant was contacted about Defendant’s position on this Motion.

Defendant requests that it be allowed until Thursday, June 21, 2018 to file its opposition.

       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that this Court

sustain their motion for leave to file a combined reply and surreply to Defendant’s last two SBP

briefs to be filed 15 days after the granting of this motion, and for such other and further relief

that is just and proper under the circumstances.




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Dated: June 18, 2018.

                             Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that I did on this 18th day of June, 2018, cause the above and foregoing

to be sent via electronic transmission to:


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                                                      /s/ R. Dan Boulware




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